  Case: 1:17-md-02804-DAP Doc #: 404-2 Filed: 05/09/18 1 of 29. PageID #: 5356




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                   )   MDL 2804
OPIATE LITIGATION                              )
                                               )   Case No. 1:17-md-2804-DAP
This document relates to:                      )
                                               )   Judge Dan Aaron Polster
State of Alabama v. Purdue Pharma LP, et al.   )
Case No. 1:18-OP-45236-DAP (N.D. Ohio)         )


                                     EXHIBIT B
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page21ofof29. PageID #:14119
                                                                28 PageID #: 5357




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

CITY OF CHICAGO, a municipal                 )
corporation,                                 )   No. 14 CV 4361
                                             )
                               Plaintiff,    )
                                             )
      v.                                     )   Magistrate Judge Young B. Kim
                                             )
PURDUE PHARMA L.P., et al.,                  )
                                             )   December 8, 2016
                               Defendants.   )

              AMENDED AGREED CONFIDENTIALITY ORDER

      The parties in this action have agreed to the terms of this Amended Agreed

Confidentiality Order. Accordingly, it is ORDERED:

      1.     Scope.

      (a)    Generally.        All materials produced or adduced in the course of

discovery in this Action including initial or amended disclosures, responses to

interrogatories and requests for admission, responses to discovery requests,

deposition testimony and exhibits, documents, and testimony, data, and other

information produced or disclosed (“Discovery Material”), shall be subject to this

Order concerning Confidential Information or Highly Confidential – Attorneys’ Eyes

Only Information as defined below. This Order is subject to the Local Rules of this

District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page32ofof29. PageID #:14120
                                                                28 PageID #: 5358




      (b)    Party Definitions. A Party (or, if applicable, non-party) producing

information covered by this Order shall be referred to as the “Designating Party.”

Any Party (or, if applicable, non-party) receiving Discovery Material covered by this

Order shall be referred to as the “Receiving Party.”

      (c)    Derivative Material, Compilations. The protections conferred by

this Order cover not only Discovery Material designated as Confidential or Highly

Confidential – Attorneys’ Eyes Only but also (1) any information copied or extracted

from such Discovery Material; and (2) all copies, excerpts, summaries, or

compilations of such Discovery Material.

      (d)    Material Not Covered. The protections conferred by this Order do

not cover any information that is in the public domain or that is not Discovery

Material as defined in Paragraph 1(a) of this Order.

      (e)    Designations by a Non-Party. Any non-Party to this Action may

designate any Discovery Material it produces as Confidential or Highly Confidential

– Attorneys’ Eyes Only pursuant to the terms of this Order, and in so designating

the non-party and the Parties agree that the restrictions and terms of this Order

shall be applicable to all such Discovery Material to the same extent as Discovery

Material produced by a Party. The non-Party producing Discovery Material must

first complete the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound.

      2.     Confidential Information.         As used in this Order, “Confidential”

Information means information designated as “Confidential” by the Designating


                                           2
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page43ofof29. PageID #:14121
                                                                28 PageID #: 5359




Party that falls within one or more of the following categories: (a) information

prohibited from disclosure by any applicable laws and regulations; (b) information

that reveals trade secrets; (c) research, technical, commercial or financial

information that the Designating Party has maintained as confidential; (d) medical

information, except “Protected Health Information,” concerning any individual; (e)

personal identity information; (f) income tax returns (including attached schedules

and forms), W-2 forms and 1099 forms; or (g) personnel or employment records of a

person who is not a party to the case. Information or documents that are available

to the public may not be designated as Confidential Information.

      3.    Highly Confidential – Attorneys’ Eyes Only Information.             As

used in this Order, “Highly Confidential – Attorneys’ Eyes Only Information” means

information designated as “Highly Confidential – Attorneys’ Eyes Only” by the

Designating Party that the Designating Party in good faith believes could

reasonably result in commercial, financial or business injury to the Designating

Party (other than injury to the Designating Party’s position in this Action) in the

event of the disclosure, dissemination or use by or to any of the persons not

enumerated in Paragraph 7(c).

      4.    Designation

      (a)   The Designating Party may designate a document or other tangible

Discovery Material at the time of production as Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information for protection under this Order by

placing or affixing the words “Confidential” or “Highly Confidential – Attorneys’


                                         3
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page54ofof29. PageID #:14122
                                                                28 PageID #: 5360




Eyes Only” on each page of the document or material and on all copies in a manner

that will not interfere with the legibility of the document or material.

      (b)    As used in this Order, “copies” includes electronic images, duplicates,

extracts, summaries or descriptions that contain the Confidential Information or

Highly Confidential – Attorneys’ Eyes Only Information. Electronic media (such as

CDs and DVDs) shall, at the time of production, be designated by affixing a label to

such media. In the case of initial or amended disclosures, interrogatory answers,

responses to requests for admissions, and other similar documents providing

information, the designation shall be made by means of a statement in the relevant

document specifying that the document or specific parts thereof are designated

Confidential or Highly Confidential – Attorneys’ Eyes Only.

      (c)    Applying the marking Confidential or Highly Confidential – Attorneys’

Eyes Only to Discovery Material does not mean that the Discovery Material has any

status or protection by statute or otherwise except to the extent and for the

purposes of this Order.     Any copies that are made of any documents marked

Confidential or Highly Confidential – Attorneys’ Eyes Only shall also be so marked.

Indices, electronic databases or lists of documents that do not contain substantial

portions or images of the text of marked documents and do not otherwise disclose

the substance of the Confidential Information or Highly Confidential – Attorneys’

Eyes Only Information are not required to be marked. The designation of Discovery

Material as Confidential Information or Highly Confidential – Attorneys’ Eyes Only

Information is a certification by an attorney or a party appearing pro se that the



                                           4
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page65ofof29. PageID #:14123
                                                                28 PageID #: 5361




Discovery Material contains Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information as defined in this Order.

      5.     Depositions. Deposition testimony is protected by this Order only if

designated as Confidential or Highly Confidential – Attorneys’ Eyes Only on the

record at the time the testimony is taken or by serving a Notice of Designation on

all parties of record identifying the specific portions of the transcript that are

designated Confidential Information or Highly Confidential – Attorneys’ Eyes Only

Information within thirty days after the Designating Party receives a certified copy

of the deposition transcript from the court reporter. All deposition transcripts shall

be treated as Highly Confidential – Attorneys’ Eyes Only Information until the

expiration of the 30-day period to make a written confidentiality designation. The

failure to serve a timely Notice of Designation waives any designation of deposition

testimony as Confidential Information or Highly Confidential – Attorneys’ Eyes

Only Information, except for that testimony that was so designated on the record at

the time of the testimony, unless otherwise ordered by the Court.              Where

confidentiality designations of deposition testimony are made orally on the record

during a deposition, the Designating Party shall confirm that designation in a

writing within 30 days after receiving the transcript.

      6.     Non-Documentary        and       Non-Testimonial    Material.      Non-

documentary and non-testimonial material, such as oral statements, shall be

designated as Confidential Information or Highly Confidential – Attorneys’ Eyes




                                          5
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page76ofof29. PageID #:14124
                                                                28 PageID #: 5362




Only Information if and as appropriate at the time of disclosure or in writing within

30-days of their disclosure.

      7.     Protection of Confidential Material.

      (a)    General     Protections.     Confidential   Information    and   Highly

Confidential – Attorneys’ Eyes Only Information shall not be used or disclosed by

the Parties, counsel for the Parties, or any other persons identified in

subparagraphs (b) and (c) for any purpose whatsoever other than in this Action and

any appeal thereto, except as the Designating Party may agree in writing.

      (b)    Limited Third-Party Disclosures of Confidential Information.

The Receiving Party and counsel for the Receiving Party shall not disclose or permit

the disclosure of any Confidential Information to any third person or entity except

as set forth in subparagraphs (1)-(11). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

      (1)    Counsel. Counsel for the Parties and employees of counsel who have

responsibility for the Action;

      (2)    Parties. Individual Parties and present or former officers, directors,

and employees of a Party (provided that no former employee shall be shown

documents prepared after the date of his or her departure) but only to the extent

counsel for the Receiving Party determines in good faith that the employee’s

assistance is reasonably necessary to the conduct of this Action and provided that




                                         6
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page87ofof29. PageID #:14125
                                                                28 PageID #: 5363




such persons have completed the certification contained in Attachment A,

Acknowledgment of Understanding and Agreement to Be Bound;

      (3)    The Court and its Personnel;

      (4)    Court Reporters and Recorders. Court reporters, recorders, and

other personnel engaged for transcribing or videotaping testimony in this Action

(“Court Reporters and Recorders”);

      (5)    Contractors.      Those persons specifically engaged for the limited

purpose of making copies of Discovery Material or organizing or processing

Discovery Material, including outside vendors hired to process electronically stored

documents, copying services, litigation support services, translation services,

graphics and design services, and document review and handling services, as well

as investigators, trial consultants, jury consultants, and mock jurors, but only after

such persons have completed the certification contained in Attachment A,

Acknowledgment of Understanding and Agreement to Be Bound (“Contractors”);

      (6)    Experts. Retained experts and expert consultants employed by the

parties or counsel for the parties to assist in the preparation and trial of this action

subject to the provisions of Sections 8-9 below but only after such persons have

completed the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound (“Experts”);

      (7)    Witnesses at Depositions.         In connection with their depositions,

witnesses in this Action to whom disclosure is reasonably necessary, but only after




                                           7
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page98ofof29. PageID #:14126
                                                                28 PageID #: 5364




such persons have completed the certification contained in Attachment A,

Acknowledgment of Understanding and Agreement to Be Bound. Witnesses shall

not retain a copy of documents containing Confidential Information, except

witnesses may receive a copy of all exhibits marked at their depositions solely in

connection with review of the transcripts, and must return all copies after their

review. Pages of transcribed deposition testimony or exhibits to depositions that

are properly designated as Confidential Information pursuant to the process set out

in this Order must be separately bound by the court reporter and may not be

disclosed to anyone except as permitted under this Order. In no event will a current

or prior officer, director, or employee, or affiliate of one defendant be shown the

Confidential Discovery Material of another defendant unless the witness authored,

sent, modified or received the Discovery Material in the ordinary course of business;

      (8)    Author, Sender or Recipient.         Any non-Party witnesses to the

extent that the person authored, modified, sent or received the Discovery Material

prior to its production in this Action in the ordinary course of business, provided

that the non-Party witnesses shall only be shown the specific portions of the

Discovery Material authored, sent or received by the witness, that counsel for the

Receiving Party determines in good faith that the employee’s assistance is

reasonably necessary to the conduct of this Action, and that such persons have

completed the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound;




                                          8
 Case:
 Case: 1:17-md-02804-DAP  Doc #:
       1:14-cv-04361 Document #: 487
                                 404-2   Filed:
                                     Filed:     05/09/18
                                             12/08/16 Page109 of
                                                              of 29. PageID#:14127
                                                                 28 PageID  #: 5365




      (9)    Special Masters. Special masters, mediators, arbitrators, or other

third parties appointed by the Court or jointly retained by the Parties for settlement

purposes or resolution of discovery or other disputes in this Action and their

necessary staff, but only after such persons have completed the certification

contained in Attachment A, Acknowledgment of Understanding and Agreement to

Be Bound (“Special Masters”);

      (10)   Others by Consent. Other persons only by written consent of the

Designating Party or upon order of the Court and on such conditions as may be

agreed or ordered; and

      (11)   Law Enforcement Entities.          To the extent the Receiving Party

believes it is allowed by state or federal law or regulation to disclose Discovery

Material to a state or federal law enforcement agency, but only after such persons

have completed the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound.              Disclosure pursuant to this

subparagraph will be made only after the Designating Party has been given 21

days’ notice of the Receiving Party’s intent to disclose, and a description of the

materials the Receiving Party intends to disclose. If the Designating Party objects

to disclosure, the Designating Party may request a meet and confer and may seek a

protective order from the Court.

      (c)    Limited Third-Party Disclosures of Highly Confidential –

Attorneys’ Eyes Only Information. The Receiving Party and counsel for the

Receiving Party shall not disclose or permit the disclosure of any Highly


                                          9
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page11
                                                          10ofof29. PageID #:14128
                                                                 28 PageID #: 5366




Confidential    – Attorneys’ Eyes Only Information to any third person or entity

except as set forth in subparagraphs (1)-(6). Subject to these requirements, the

following categories of persons may be allowed to review Highly Confidential –

Attorneys’ Eyes Only Information:

      (1)      Outside Counsel. Outside counsel for the Parties in this Action and

employees of outside counsel who have responsibility for the Action;

      (2)      Court and its Personnel, Court Reporters and Recorders,

Contractors, Experts, and Special Masters;

      (3)      Witnesses at Depositions.      In connection with their depositions,

witnesses in this Action to whom disclosure is reasonably necessary, but only when

the witness authored, sent, modified or received the Discovery Material in the

ordinary course of business and provided that the witness shall only be shown the

specific portions of the Discovery Material to which access is reasonably necessary,

with all other designated material redacted, but only after such persons have

completed the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound. Witnesses shall not retain a copy of

documents containing Highly Confidential – Attorneys’ Eyes Only Information,

except witnesses may receive a copy of all exhibits marked at their depositions

solely in connection with review of the transcripts, and must return all copies after

their review. Pages of transcribed deposition testimony or exhibits to depositions

that are properly designated as Highly Confidential – Attorneys’ Eyes Only

Information pursuant to the process set out in this Order must be separately bound


                                         10
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page12
                                                          11ofof29. PageID #:14129
                                                                 28 PageID #: 5367




by the court reporter and may not be disclosed to anyone except as permitted under

this Order.    In no event will a current or prior officer, director, or employee, or

affiliate of one defendant be shown the Highly Confidential – Attorney’s Eyes Only

Discovery Material of another defendant unless the witness authored, sent,

modified or received the Discovery Material in the ordinary course of business.

      (4)     Author, Sender or Recipient. Any witness, to the extent that it is

evident that the person authored, sent or received the Discovery Material prior to

its production in this Action in the ordinary course of business, provided that the

witnesses shall only be shown the specific portions of the Discovery Material

authored, sent or received by the witness, with all other designated material

redacted, and has completed the certification contained in Attachment A,

Acknowledgment of Understanding and Agreement to Be Bound;

      (5)     Others by Consent. Other persons only by written consent of the

Designating Party or upon order of the Court and on such conditions as may be

agreed or ordered; and

      (6)     Experts: Retained experts and expert consultants employed by the

parties or counsel for the parties to assist in the preparation and trial of this action

subject to the provisions of Section 8-9 below but only after such persons have

completed the certification contained in Attachment A, Acknowledgement of

Understanding and Agreement to Be Bound.

      (d)     Control of Documents.            Counsel for the Parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential


                                          11
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page13
                                                          12ofof29. PageID #:14130
                                                                 28 PageID #: 5368




Information and Highly Confidential – Attorneys’ Eyes Only Information. Counsel

to the Party employing, examining, or interviewing witnesses shall be responsible

for obtaining the executed Acknowledgment of Understanding and Agreement to Be

Bound, shall maintain the originals of that form for a period of three years after the

termination of the case, and shall serve it on counsel upon request.

      8.     Disclosure to Experts and Expert Consultants.                Confidential

Information or Highly Confidential – Attorneys’ Eyes Only Information may be

provided to retained experts and expert consultants assisting counsel to the Parties

in this Action only to the extent necessary for the expert or expert consultant to

prepare a written opinion, to prepare to testify, or to assist counsel in the

prosecution or defense of this Action and provided that the expert or expert

consultant is using said Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information solely in connection with the rendition of expert

services in this Action and is not currently a partner, director, officer, employee, or

other affiliate of the Designating Party. Nothing herein shall be construed as a

waiver of any objection to retaining a former partner, director, officer, employee or

other affiliate of the Designating Party to serve as a retained expert or expert

consultant in this Action.

      9.     Limitations.     Entering into, agreeing to, producing, or receiving

Confidential Information or Highly Confidential – Attorneys’ Eyes Only Information

pursuant to this Order, or the taking of any action pursuant to this Order shall not:




                                          12
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page14
                                                          13ofof29. PageID #:14131
                                                                 28 PageID #: 5369




      (a)    Limit or restrict a Party’s handling and use of its own Confidential

Information or Highly Confidential – Attorneys’ Eyes Only Information that has

been designated as such solely by that Party.

      (b)    Prejudice in any way the rights of any Party to petition the Court to

seek additional protection for Discovery Material for any reasons not specifically

addressed by this Order;

      (c)    Prejudice in any way the rights of any Party to object to the relevancy,

authenticity, or admissibility into evidence of any document or other information

subject to this Order, or otherwise constitute or operate as an admission by any

Party that any particular document or other information is or is not relevant,

authentic, or admissible into evidence at any deposition, at trial, or in a hearing; or

      (d)    Prevent the interested Parties from agreeing, in writing, to alter or

waive the provisions or protections of this Order with respect to any particular

document, information, or person.

      10.    Inadvertent Failure to Designate and Mis-Designation.                   An

inadvertent failure to designate Discovery Material as Confidential Information or

Highly Confidential – Attorneys’ Eyes Only Information or mis-designation of

Discovery Material does not, standing alone, waive the right to designate or re-

designate the Discovery Material or constitute a waiver of a claim of confidentiality;

provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any

protection for deposition testimony. A failure to designate or correctly designate


                                          13
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page15
                                                          14ofof29. PageID #:14132
                                                                 28 PageID #: 5370




Discovery Material may be corrected by prompt written notice upon discovery of

such failure, accompanied by appropriately designated substitute copies of the

Discovery Material. No Party shall be found to have violated this Order for failing

to maintain the confidentiality of material during a time when that material has

not been designated as Confidential Information or Highly Confidential – Attorneys’

Eyes Only Information, even where the failure to so designate was inadvertent and

where the material is subsequently designated as Confidential Information or

Highly Confidential – Attorneys’ Eyes Only Information. If a party designates or

re-designates   Discovery   Material   as     Confidential   Information   or   Highly

Confidential – Attorneys’ Eyes Only Information after it was initially produced, the

Receiving Party, on notification of the designation and receipt of substitute copies,

must make a reasonable effort to promptly destroy or return to the Designating

Party all copies of such non-designated or mis-designated Discovery Material and

shall treat the substitute Discovery Material as Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information as appropriate as if it had been

initially so designated. If the Receiving Party disclosed Discovery Material that

was subsequently designated as Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information, it shall in good faith assist the Designating Party

in retrieving such Discovery Material from all recipients not entitled to access to

such Discovery Material and prevent further disclosures except as authorized under

the terms of this Order.




                                         14
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page16
                                                          15ofof29. PageID #:14133
                                                                 28 PageID #: 5371




      11.    Inadvertent Production of Privileged Information.

      (a)    Generally. Any inadvertent disclosure of Discovery Material subject

to a claim of attorney client privilege, attorney work product protection, common-

interest privilege, or any other privilege, immunity or protection from production or

disclosure (“Privileged Information”) will not in any way prejudice or otherwise

constitute a waiver of, or estoppel as to, such Privileged Information or generally of

such privilege.

      (b)    Given   the   complexities    associated   with   large-scale   discovery,

production of Privileged Information shall be deemed inadvertent whenever the

Designating Party asserts in writing that such production was inadvertent.

      (c)    Notice of Inadvertent Production. If a Party or non-Party discovers

that it has inadvertently produced Privileged Information, it shall promptly notify

the Receiving Party of the inadvertent production in writing, shall identify the

inadvertently produced Privileged Information by Bates range where possible, and

may demand that the Receiving Party return or destroy the Privileged Information.

In the event that a Receiving Party receives information that it believes is subject to

a good faith claim of privilege by the Disclosing Party, the Receiving Party shall

immediately refrain from examining the information and shall promptly notify the

Disclosing Party in writing that the Receiving Party possesses potentially

Privileged Information. The Disclosing Party shall have fourteen (14) days to assert

privilege over the identified information. If the Disclosing Party does not assert a




                                          15
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page17
                                                          16ofof29. PageID #:14134
                                                                 28 PageID #: 5372




claim of privilege within the fourteen day period, the information in question shall

be deemed non-privileged.

      (d)    Claw Back of Privileged Information. If the Designating Party has

notified the Receiving Party of inadvertent production, or has confirmed the

inadvertent production called to its attention by the Receiving Party, the Receiving

Party shall within fourteen (14) days of receiving such notification or confirmation:

(1) destroy or return to the Designating Party all copies or versions of the

inadvertently produced Privileged Information requested to be destroyed returned

or destroyed; (2) delete from its work product or other materials any quoted or

paraphrased portions of the inadvertently produced Privileged Information;        (3)

ensure that inadvertently produced Privileged Information is not disclosed in any

manner to any Party or non-Party. Notwithstanding the above, the Receiving Party

may segregate and retain one copy of the clawed back information solely for the

purpose of disputing the claim of privilege. The Receiving Party shall not use any

inadvertently produced Privileged Information in connection with this Action or for

any other purpose other than to dispute the claim of privilege. The Receiving Party

may file a motion disputing the claim of privilege and seeking an order compelling

production of the material at issue; the Disclosing Party may oppose any such

motion, including on the grounds that inadvertent disclosure does not waive

privilege.

      12.    Unauthorized Disclosure.         If a Receiving Party learns that, by

inadvertence or otherwise, it has disclosed Confidential Information or Highly



                                         16
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page18
                                                          17ofof29. PageID #:14135
                                                                 28 PageID #: 5373




Confidential – Attorneys’ Eyes Only Information to any person or in any

circumstance not authorized under this Order, the Receiving Party must

immediately (a) notify the Designating Party in writing of the unauthorized

disclosures, (b) use its best efforts to retrieve all copies of the Confidential

Information or Highly Confidential – Attorneys’ Eyes Only Information, (c) inform

the person or persons to whom unauthorized disclosures were made of this Order,

and (d) request such person or persons complete the certification contained in

Attachment A, Acknowledgment of Understanding and Agreement to Be Bound.

      13.    Filing of Confidential or Highly Confidential – Attorneys’ Eyes

Only Discovery Material. This Order does not, by itself, authorize the filing of

any document under seal. Any party wishing to file a document designated as

Confidential Information or Highly Confidential – Attorneys’ Eyes Only Information

in connection with a motion, brief or other submission to the Court, or file a motion,

brief, or other submission containing Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information, must comply with Civil Local

Rules 5.7 and 26.2. The Designating Party shall have the opportunity to join in a

motion to file under seal and file supplemental briefing in support of the motion.

      14.    No Greater Protection of Specific Documents.                 Except on

privilege grounds not addressed by this Order, no party may withhold information

from discovery on the ground that it requires protection greater than that afforded

by this Order unless the party moves for an order providing such special protection.




                                         17
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page19
                                                          18ofof29. PageID #:14136
                                                                 28 PageID #: 5374




      15.    Challenges     by   a   Party     to   Designation    as   Confidential

Information or Highly Confidential – Attorneys’ Eyes Only Information.

The designation of any material or document as Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information is subject to challenge by any

Party. The following procedure shall apply to any such challenge.

      (a)    Meet and Confer.           A Party challenging the designation of

Confidential Information or Highly Confidential – Attorneys’ Eyes Only Information

must do so in good faith and must begin the process by conferring directly with

counsel for the Designating Party. In conferring, the challenging Receiving Party

must explain the basis for its belief that the confidentiality designation was not

proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the designation, and, if no change in designation

is offered, to explain the basis for the designation. If the Receiving Party believes

that portion(s) of a document are not Confidential or Highly Confidential –

Attorneys’ Only Information, it will identify the specific information that it believes

is not confidential and the Designating Party will review and respond, as laid out in

this paragraph, with respect to that specific information. The Designating Party

must respond to the challenge within five (5) days of the meet and confer.

      (b)    Judicial Intervention.          A Party that elects to challenge a

confidentiality designation may file and serve a motion that identifies the

challenged material and sets forth in detail the basis for the challenge. Each such

motion must be accompanied by a competent declaration that affirms that the



                                          18
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page20
                                                          19ofof29. PageID #:14137
                                                                 28 PageID #: 5375




movant has complied with the meet and confer requirements of this procedure. The

burden of persuasion in any such challenge proceeding shall be on the designating

party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information or Highly Confidential – Attorneys’ Eyes

Only Information, as appropriate, under the terms of this Order.

       16.     Action by the Court. Applications to the Court for an order relating

to materials or documents designated Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information shall be by motion. Nothing in

this Order or any action or agreement of a Party under this Order limits the Court’s

power to make orders concerning the disclosure of documents produced in discovery

or at trial.

       17.     Use of Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information at Trial or Hearings. A Party that intends

to present Confidential Information or Highly Confidential – Attorneys’ Eyes Only

Information at a hearing shall bring that issue to the Court’s and Parties’ attention

by motion without disclosing the Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information. The Court may thereafter make such orders,

including any stipulated orders, as are necessary to govern the use of Confidential

Information or Highly Confidential – Attorneys’ Eyes Only Information at the

hearing. The use of any Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information at trial shall be governed by a separate

stipulation and/or court order.



                                         19
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page21
                                                          20ofof29. PageID #:14138
                                                                 28 PageID #: 5376




      18.    Confidential Information or Highly Confidential – Attorneys’

Eyes Only Information Requested by Third Party; Procedure Following

Request.

      (a)    If any person receiving Discovery Material covered by this Order (the

“Receiver”) is served with a subpoena, a request for information, or any other form

of legal process that would compel disclosure of any Confidential Information or

Highly Confidential – Attorneys’ Eyes Only Information that was produced by a

person or entity other than the Receiver (“Request”), the Receiver must so notify the

Designating Party, in writing, immediately and in no event more than three court

days after receiving the Request.    Such notification must include a copy of the

Request.

      (b)    The Receiver also must immediately inform the party who made the

Request (“Requesting Party”) in writing that some or all the requested material is

the subject of this Order. In addition, the Receiver must deliver a copy of this Order

promptly to the Requesting Party.

      (c)    The purpose of imposing these duties is to alert the interested persons

to the existence of this Order and to afford the Designating Party in this case an

opportunity to try to protect its Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information. The Designating Party shall bear the burden

and the expense of seeking protection of its Confidential Information or Highly

Confidential – Attorneys’ Eyes Only Information, and nothing in these provisions

should be construed as authorizing or encouraging the Receiver in this Action to


                                         20
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page22
                                                          21ofof29. PageID #:14139
                                                                 28 PageID #: 5377




disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the Receiver has in its possession, custody or

control Confidential Information or Highly Confidential – Attorneys’ Eyes Only

Information by the other Party in this Action.

      (d)    Materials that have been designated as Confidential or Highly

Confidential-Attorneys’ Eyes Only Discovery Material shall not be provided or

disclosed to any third party in response to a request under the Illinois Freedom of

Information Act (“IFOIA”), or any similar federal, state or municipal law

(collectively, the “Public Disclosure Laws”), and are exempt from disclosure

pursuant to 5 ILCS 140/7(1)(a), and may be exempt under other provisions.       If the

City receives such a request, it shall (i) provide a copy of this Order to the

requesting party and inform it that the requested materials are exempt from

disclosure and that the City is barred by this Order from disclosing them, and (ii)

promptly inform the party that has produced the requested material that the

request has been made, identifying the name of the requesting party and the

particular materials sought. The restrictions in this paragraph shall not apply to

materials that (i) the Designating Party expressly consents in writing to disclosure;

or (ii) this Court has determined by court order to have been improperly designated

as Confidential or Highly Confidential-Attorneys’ Eyes Only Discovery Material.

The provisions of this section shall apply to any entity in receipt of Confidential or

Highly Confidential-Attorneys’ Eyes Only Discovery Material governed by this

Order.   Nothing in this Order shall be deemed to (1) foreclose any party from



                                         21
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page23
                                                          22ofof29. PageID #:14140
                                                                 28 PageID #: 5378




arguing that Discovery Material is not a public record for purposes of the Public

Disclosures Law, (2) prevent any party from claiming any applicable exemption to

the Public Disclosure Laws; or (3) limit any arguments that a party may make as to

why Discovery Material is exempt from disclosure.

      19.    Information Subject to Existing Obligation of Confidentiality.

In the event that a Party is required by a valid discovery request to produce any

information held by it subject to an obligation of confidentiality in favor of a third

party, the Party shall, promptly upon recognizing that such third party’s rights are

implicated, provide the third party with a copy of this Order and inform the third

party in writing (i) of the Party’s obligation to produce such information in

connection with this Action and of its intention to do so, subject to the protections of

this Order; (ii) of the third party’s right within twenty one (21) days to seek further

protection or other relief from the Court if, in good faith, it believes such

information to be confidential under the said obligation and either objects to the

Party’s production of such information or regards the provisions of this Order to be

inadequate; and (iii) seek the third party’s consent to such disclosure if it does not

plan to object. Thereafter, the Party shall refrain from producing such information

for a period of twenty one (21) days in order to permit the third party an

opportunity to seek relief from the Court, unless the third party earlier consents to

disclosure. If the third party fails to seek such relief, the Party shall promptly

produce the information in question subject to the protections of this Order, or




                                          22
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page24
                                                          23ofof29. PageID #:14141
                                                                 28 PageID #: 5379




alternatively, shall promptly seek to be relieved of this obligation or for clarification

of this obligation by the Court.

        20.   Challenges by Members of the Public to Sealing Orders.                   A

Party or interested member of the public has a right to challenge the sealing of

particular documents that have been filed under seal, and the Party asserting

confidentiality will have the burden of demonstrating the propriety of filing under

seal.

        21.   Obligations on Conclusion of Litigation.

        (a)   Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to

further appeal.

        (b)   Obligations at Conclusion of Litigation. Within sixty-three days

after dismissal or entry of final judgment not subject to further appeal, all

Confidential Information and Highly Confidential – Attorneys’ Eyes Only

Information under this Order, including copies as defined in Paragraph 4(a) above,

shall be returned to the producing party unless: (1) the document has been offered

into evidence or filed without restriction as to disclosure; (2) the Parties agree to

destruction to the extent practicable in lieu of return;       or (3) as to documents

bearing the notations, summations, or other mental impressions of the Receiving

Party, that Party elects to destroy the documents and certifies to the producing

party that it has done so. Except, however, that nothing in this paragraph shall

modify the City's obligations regarding the maintenance and disposal of records


                                           23
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page25
                                                          24ofof29. PageID #:14142
                                                                 28 PageID #: 5380




under the Illinois Local Records Act, 50 ILCS 205/1 et seq. To the maximum extent

possible and as early as possible, pursuant to the provisions of 50 ILCS 205/1 et

seq., the City shall seek written permission to return to the producing party the

materials described in this section. If permission to return materials cannot be

obtained in advance of dismissal or entry of final judgment not subject to further

appeal, then within sixty-three days after dismissal or entry of final judgment not

subject to further appeal, pursuant to the provisions of 50 ILCS 205/1 et seq., the

City shall seek written permission to return to the producing party the materials

described in this section. Nothing in this paragraph shall modify the City's

obligations under Paragraph 18 of this Order. It is also agreed and understood that

the confidential business information at issue is not of historical value and these

records are not of the type to be provided to the State archivist.

      (c)    Retention of Work Product and one set of Discovery Material.

Notwithstanding the above requirements to return or destroy documents, City’s

counsel and Defendants’ outside counsel may retain (1) attorney work product,

including an index that refers or relates to designated Confidential or Highly

Confidential – Attorneys’ Eyes Only Discovery Material so long as that work

product does not duplicate verbatim substantial portions of Confidential

Information, and (2) one complete set of all documents filed with the Court

including those filed under seal, deposition and trial transcripts, and deposition and

trial exhibits. Any retained Confidential or Highly Confidential – Attorneys’ Eyes

Only Discovery Material shall continue to be protected under this Order.           An



                                          24
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page26
                                                          25ofof29. PageID #:14143
                                                                 28 PageID #: 5381




attorney may use his or her work product in subsequent litigation, provided that its

use does not disclose or use Confidential Information or Highly Confidential –

Attorneys’ Eyes Only Information.

      (d)    Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal shall be deleted from the ECF system

only upon order of the Court.

      22.    Order Subject to Modification.         This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other

person with standing concerning the subject matter.

      23.    No Prior Judicial Determination. This Order is entered based on

the representations and agreements of the Parties and for the purpose of facilitating

discovery.   Nothing herein shall be construed or presented as a judicial

determination that any Discovery Material designated as Confidential or Highly

Confidential – Attorneys’ Eyes Only is entitled to protection under Rule 26(c) of the

Federal Rules of Civil Procedure or otherwise until such time as the Court may rule

on a specific document or issue.




                                         25
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page27
                                                          26ofof29. PageID #:14144
                                                                 28 PageID #: 5382




      24.    Persons Bound. This Order shall take effect when entered and shall

be binding upon all counsel of record and their law firms, the parties, and persons

made subject to this Order by its terms.

                                                ENTER:



                                                ____________________________________
                                                Young B. Kim
                                                United States Magistrate Judge




                                           26
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page28
                                                          27ofof29. PageID #:14145
                                                                 28 PageID #: 5383




                                 ATTACHMENT A

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

CITY OF CHICAGO, a municipal                 )
corporation,                                 )   No. 14 CV 4361
                                             )
                          Plaintiff,         )
                                             )
      v.                                     )   District Judge Jorge L. Alonso
                                             )
PURDUE PHARMA L.P., et al.,                  )   Magistrate Judge Young B. Kim
                                             )
                          Defendants.        )

           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

      The undersigned hereby acknowledges that he/she has read the Amended

Agreed Confidentiality Order entered in the above-captioned action on December 8,

2016, and attached hereto, understands the terms. The undersigned submits to the

jurisdiction of the United States District Court for the Northern District of Illinois

in matters relating to the Amended Agreed Confidentiality Order and understands

that the terms of the Amended Agreed Confidentiality Order obligate him/her to use

materials designated as Confidential information in accordance with the Order

solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern.
 Case: 1:14-cv-04361
 Case: 1:17-md-02804-DAP  Doc#:#:487
                     Document     404-2  Filed:
                                     Filed:     05/09/18
                                            12/08/16 Page29
                                                          28ofof29. PageID #:14146
                                                                 28 PageID #: 5384




        The undersigned acknowledges that violation of the Amended Agreed

Confidentiality Order may result in penalties of contempt of court.

Name:                     _________________________________

Job Title:                _________________________________

Employer:                 _________________________________

Business Address:         _________________________________

                          _________________________________

                          _________________________________

Date:                     _________________________________

Signature:                _________________________________




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